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 2   (Stipulating Parties Appear on Signature Page)
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 8                               UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                      OAKLAND DIVISION
11   IN RE: CATHODE RAY TUBE (CRT)                    Master File No. 07-CV-5944-JST
     ANTITRUST LITIGATION
12   ____________________________________             MDL No. 1917
13                                                    STIPULATION AND [PROPOSED] ORDER
     This Document Relates to:
14                                                    SUBSTITUTING NAMED PLAINTIFF FOR
     ALL INDIRECT PURCHASER ACTIONS                   NEW MEXICO
15
                                                      Judge:     Honorable Jon S. Tigar
16                                                    Courtroom: Courtroom 6 – 2nd Floor
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     STIPULATION AND [PROPOSED] ORDER SUBSTITUTING NAMED PLAINTIFF FOR NEW MEXICO; Master
                                     File No. 07-CV-5944-JST
        Case 4:07-cv-05944-JST Document 5927 Filed 04/26/21 Page 2 of 3




 1          IT IS HEREBY STIPULATED, pursuant to the Federal Rules of Civil Procedure, Rule 15

 2   (a)(2) and Civil L.R. 7-1(a)(5) and 7-12, by and between the undersigned parties hereto, through their

 3   respective attorneys of record, that Indirect Purchaser Plaintiffs (“IPPs”) may amend the Fifth

 4   Consolidated Amended Complaint, ECF No. 5589 (the “Fifth CAC”) to substitute Marylou Hillberg,

 5   in her capacity as the Personal Representative for the Estate of William Craig Stephenson, for Mary

 6   Ann Stephenson as the named plaintiff for the State of New Mexico.

 7          IT IS FURTHER STIPULATED that the name “Mary Ann Stephenson” on page 1 and in

 8   Paragraph 270 of the Fifth CAC is hereby removed and substituted with the name: “Marylou Hillberg

 9   as the Personal Representative for the Estate of William Craig Stephenson.”

10          IT IS FURTHER STIPULATED that Paragraph 38 of the Fifth CAC is hereby amended to

11   read as follows:

12          Plaintiff Marylou Hillberg is the Personal Representative of the Estate of William

13          Craig Stephenson. During the relevant period, William Craig Stephenson was a

14          resident of New Mexico and indirectly purchased CRT Products from one or more of

15          the Defendants or their co-conspirators and was injured by reason of the antitrust

16          violations alleged in this Complaint.

17          IT IS FURTHER STIPULATED that the undersigned defendants, Irico Group Corporation

18   and Irico Display Devices Co., Ltd. (together “Irico”), shall not be required to amend their answers

19   to the Fifth CAC, and that all denials, responses and affirmative defenses contained in their answers

20   to the Fifth CAC shall still be responsive.

21          IT IS FURTHER STIPULATED that Irico shall not be deemed to have waived any defenses

22   by entering into this stipulation, and reserves all rights to challenge Ms. Hillberg’s status as an

23   adequate representative of the New Mexico class.

24          The undersigned parties jointly and respectfully request that the Court enter this stipulation

25   as an order.

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        STIPULATION AND [PROPOSED] ORDER SUBSTITUTING NAMED PLAINTIFF FOR NEW MEXICO;
                                   Master File No. 07-CV-5944-JST
        Case 4:07-cv-05944-JST Document 5927 Filed 04/26/21 Page 3 of 3




 1          PURSUANT TO STIPULATION, IT IS SO ORDERED.

 2
              April 26, 2021
      Dated:___________________
 3
                                                  ______________________________________
 4                                                             Hon. Jon S. Tigar
                                                          United States District Judge
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 7
     Dated: April 23, 2021                         /s/ Mario N. Alioto
 8                                                 Mario N. Alioto (56433)
                                                   Joseph M. Patane (72202)
 9                                                 Lauren C. Capurro (241151)
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                                                   laurenrussell@tatp.com
14
                                                   Lead Counsel for the
15                                                 Indirect Purchaser Plaintiffs
16

17   Dated: April 23, 2021                         /s/ John Taladay
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27                                                 Attorneys for Defendants Irico Group Corp.
                                                   and Irico Display Devices Co., Ltd.
28
                                              2
     STIPULATION AND [PROPOSED] ORDER SUBSTITUTING NAMED PLAINTIFF FOR NEW MEXICO; Master
                                     File No. 07-CV-5944-JST
